      Case 4:21-cv-02489 Document 1 Filed on 08/02/21 in TXSD Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 SHALAYA WATSON,                             §
                                             §
        Plaintiff,                           §
                                             §
 v.                                          §     CIVIL ACTION NO. 4:21-CV-002489
                                             §
 HYUNDAI MOTOR AMERICA,                      §
                                             §
        DEFENDANT.                           §

      DEFENDANT HYUNDAI MOTOR AMERICA’S NOTICE OF REMOVAL

TO THE HONORABLE U.S. DISTRICT COURT JUDGE:

       COMES NOW Defendant Hyundai Motor America (“HMA”), and pursuant to 28

U.S.C. §§ 1332, 1441(a), and 1446(a), removes this case from the 133rd Judicial District

Court of Harris County, Texas, to the United States District Court for the Southern District

of Texas, Houston Division. In support of this removal, HMA respectfully offers this Court

the following:

                                             I.
                     BRIEF FACTUAL AND PROCEDURAL BACKGROUND

       1.     This negligence case arises from a car accident that occurred on September

17, 2019 when plaintiff was driving a Hyundai Sonata (the “Subject Vehicle”). See Exhibit

A (Plaintiff’s Original Petition) at ¶ 8. Plaintiff alleges she was injured in the accident

because the Subject Vehicle’s seatbelt did not properly restrain her.
          Case 4:21-cv-02489 Document 1 Filed on 08/02/21 in TXSD Page 2 of 6




          2.    On December 18, 2020, plaintiff sued HMA in the133rd Judicial District

Court of Harris County, Texas. Id. Plaintiff alleges her injuries were caused by HMA’s

negligence, negligence per se, and gross negligence. Id. at ¶¶ 15-17.

          3.    HMA timely files this Notice of Removal because there is complete diversity

of citizenship and plaintiff’s alleged damages exceed the jurisdictional limits of this Court.

                                             II.
                                    REMOVAL IS TIMELY

          4.    HMA was served with a copy of Plaintiffs’ Original Petition on July 9, 2021.

See Exhibit B (Service of Process Transmittal). Under 28 U.S.C. §1446(b)(3), HMA files

this Notice of Removal within 30 days after service and receipt of Plaintiff’s Original

Petition. And this case is being removed within one year of commencement, as required

under 28 U.S.C. §1446(c)(1).

                                             III.
                                  GROUNDS FOR REMOVAL

          5.    Removal is proper because subject-matter jurisdiction is established under

28 U.S.C. §1332(a).

A.        Amount in Controversy Exceeds $75,000

          6.    The amount in controversy exceeds the sum or value of $75,000.00. Plaintiff

seeks to recover “all or some of the following damages”: (a) physical pain and mental

anguish; (b) impairment; (c) disfigurement; (d) loss of consortium; (e) medical expenses;

(f) lost wages/lost wage-earning capacity; (g) inconvenience; and (h) loss of enjoyment of

life. Exhibit A (Plaintiff’s Original Petition.) at ¶ 16. Plaintiff also seeks to recover

exemplary damages. Id. at ¶ 17.


4788908                                       2
          Case 4:21-cv-02489 Document 1 Filed on 08/02/21 in TXSD Page 3 of 6




          7.    Plaintiff’s pre-suit settlement demand alleges damages of $69,970.00

“Without Mental Anguish, Pain and Suffering Lost Wages or futures at this time.” Exhibit

E (Pre-Suit Notice) at p. 3. The pre-suit demand further alleges “Futures are Approximated

at $10,000.000 for additional ESI Injections.” Id. And plaintiff’s total pre-suit demand –

which includes damages for period of peril, medical expenses, permanent future harm, loss

of enjoyment of life, instant of impact, post-impact unassisted, during transportation,

treatment in therapy, between therapy treatment, preoperative testing, rehabilitative

frustration, return to home duties, major v. minor injuries, post frustration, and surgery and

on-going medical surveillance – amounts to $148,470.00. Id. at 9.

B.        Complete Diversity of Citizenship.

          8.    There is also complete diversity of citizenship between all parties. Plaintiff

is a citizen of Texas. Exhibit A (Plaintiff’s Original Petition) at ¶ 2. HMA is a citizen of

California because it is a California corporation and has its principal place of business in

California. See 28 U.S.C. §1332(c)(1) (instructing “a corporation shall be deemed to be a

citizen of every State and foreign state by which it has been incorporated and of the State

or foreign state where it has its principal place of business.”). HMA is not a citizen of

Texas.

                                           IV.
                                      VENUE IS PROPER

          9.    Venue is proper in this court under 28 USC §1441(a), because this district

and division embrace the place in which the removed State court action has been pending.




4788908                                        3
          Case 4:21-cv-02489 Document 1 Filed on 08/02/21 in TXSD Page 4 of 6




Specifically, the Harris County District Court is in the United States District Court of the

Southern District of Texas, Houston Division. See 28 U.S.C. §124(d)(2).

                                        V.
                HMA HAS COMPLIED WITH ALL PROCEDURAL REQUIREMENTS

          10.   As required under 28 U.S.C. §1446(a) and Local Rule 81, copies of all

process, pleadings, and orders served upon HMA are attached to this Notice of Removal,

along with an index of matters being filed, and include the following: 1

      • Exhibit A:      Plaintiffs’ Original Petition; and

      • Exhibit B:      Return of Service – HMA

      • Exhibit C:      The state court docket sheet;

      • Exhibit D: A list of all counsel of record, including addresses, telephone numbers
        and parties represented;

      • Exhibit E:      Pre-Suit Notice.

          11.   Upon filing this Notice of Removal, HMA will also file its Corporate

Disclosure Statement, as required under Federal Rule of Civil Procedure 7.1.

          12.   On filing of this Notice of Removal, HMA will promptly provide written

notice to Plaintiff and file a copy of this Notice of Removal with the clerk of the state court

where the suit has been pending, in accordance with 28 U.S.C. § 1446(d).

          13.   Pursuant to Local Rule 3, HMA attaches a civil action cover sheet (JS44c).

          14.   A filing fee of $402 has been tendered to the Clerk of the United States

District Court for the Southern District of Texas, Houston Division.



1
    The state court judge(s) did not sign any orders in this case.

4788908                                         4
          Case 4:21-cv-02489 Document 1 Filed on 08/02/21 in TXSD Page 5 of 6




          15.   If this Court identifies a defect in this Notice of Removal, HMA respectfully

requests this Court to grant HMA leave to amend this Notice and cure the defect. See, e.g.,

Sutton v. Advanced Aquaculture Sys., Inc., No. 07-CV-175-XR, 2007 WL 1032339, at *1

(W.D. Tex. April 3, 2007) (explaining “Defendants may still amend their notice of removal

after the expiration of the original 30-day time limit for removal.”); Lafayette City-Parish

Consol. Government v. Chain Elec. Co., No. 11–1247, 2011 WL 4499589, *7 (W.D. La.

Sept. 23, 2011) (explaining “defendants may freely amend the notice of removal required

by section 1446(b).”).

          16.   By filing this Notice of Removal, HMA does not waive any legal defenses,

but expressly reserves its right to raise any legal defenses in subsequent pleadings in this

Court.

                                          VI.
                                  DEMAND FOR JURY TRIAL

          17.   HMA hereby demands a jury trial.

                                             VII.
                                        CONCLUSION

          Based on the foregoing, HMA removes this case to this Court. This Notice of

Removal is signed pursuant to Rule 11 of the Federal Rules of Civil Procedure, as required

under 28 U.S.C. § 1446(a).




4788908                                       5
          Case 4:21-cv-02489 Document 1 Filed on 08/02/21 in TXSD Page 6 of 6




                                        Respectfully submitted and signed pursuant to
                                        Federal Rule of Civil Procedure 11,

                                        GERMER BEAMAN & BROWN, PLLC
                                        One Barton Skyway
                                        1501 S. Mopac Expy, Suite A400
                                        Austin, Texas 78746
                                        (512) 472-0288 Telephone
                                        (512) 472-0721 Facsimile

                                        By: /s/ Thomas M. Bullion III
                                              Thomas M. Bullion III
                                              tbullion@germer-austin.com
                                              State Bar No. 03331005
                                              Federal Bar No. 14690
                                              Chris A. Blackerby
                                              cblackerby@germer-austin.com
                                              State Bar No. 00787091
                                              Federal Bar No. 20016


                                        ATTORNEYS FOR DEFENDANT
                                        HYUNDAI MOTOR AMERICA


                              CERTIFICATE OF SERVICE

       This instrument was served on the following counsel in compliance with Rule 5 of
the Federal Rules of Civil Procedure on August 2nd, 2021:

Willie D. Powells, ChE, JD, MBA
One Arena Place
7322 S.W. Fwy, Ste. 2010
Houston, Texas 77074
Email: Willie@WilliePowellsLawFirm.com



                                        /s/ Thomas M. Bullion III
                                        Thomas M. Bullion III




4788908                                   6
